  Case 1:20-cv-00393-MN Document 12 Filed 08/14/20 Page 1 of 2 PageID #: 75




                            THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE


ROTHSCHILD BROADCAST
DISTRIBUTION SYSTEMS, LLC,

               Plaintiff,
                                                    CIVIL ACTION NO. 1:20-cv-00393-MN
       v.

FUBOTV, INC.,                                        JURY TRIAL DEMANDED

               Defendant.



            NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

       Plaintiff Rothschild Broadcast Distribution Systems, LLC hereby files this Notice of

Voluntary Dismissal Without Prejudice pursuant to Federal Rule of Civil Procedure

41(a)(1)(A)(i). According to Rule 41(a)(1)(A)(i), an action may be dismissed by the plaintiff

without order of court by filing a notice of dismissal at any time before service by the adverse

party of an answer. Accordingly, Rothschild Broadcast Distribution Systems, LLC hereby

voluntarily dismisses this action against FuboTV, Inc. without prejudice, pursuant to Rule

41(a)(1)(A)(i) with each party to bear its own fees and costs.

Dated: August 14, 2020                        Respectfully submitted,
                                              /s/Jimmy Chong
                                              JIMMY CHONG, ESQ. (#4839)
                                              CHONG LAW FIRM, P.A.
                                              2961 Centerville Rd.
                                              Ste 350
                                              Wilmington, DE 19808
                                              (215) 909-5204
                                              chong@chonglawfirm.com

                                              ATTORNEYS FOR PLAINTIFF
  Case 1:20-cv-00393-MN Document 12 Filed 08/14/20 Page 2 of 2 PageID #: 76




SO ORDERED, this ___________ day of ________________, 2020.

                                     ____________________________________
                                     Judge - United States District Court
